
80 B.R. 93 (1987)
In re Paul Albert SENNHENN, Jr., Debtor.
Bankruptcy No. C87-7594.
United States District Court, N.D. Ohio, W.D.
November 25, 1987.

ORDER
McQUADE, District Judge.
This is an appeal from the Bankruptcy Court pursuant to 28 U.S.C. § 158(a), which the court has reviewed de novo.
The decision of the Bankruptcy Court, 80 B.R. 89 is affirmed. The appellant's plan clearly violates 11 U.S.C. § 1322. In addition, the appellees are entitled to relief from stay. 11 U.S.C. § 362(d)(1).
It is therefore
ORDERED that this appeal be dismissed at appellant's costs.
